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17     Attorney for Defendants
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19
                                 UNITED STATES DISTRICT COURT
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                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
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22
       ROBERT VANDERUPWICH,                   CASE NO. 2:21-cv-01777-MWF-MAA
23
             Plaintiff,                       JOINT STATUS REPORT REGARDING
24                                            STATUS OF SETTLEMENT
       v.
25
       C. R. BARD, INC. and BARD              Complaint Filed:    January 9, 2019
26     PERIPHERAL VASCULAR, INC.,
                                              Transfer Date:      February 26, 2021
27           Defendants.
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                JOINT STATUS REPORT REGARDING STATUS OF SETTLEMENT
     Case 2:21-cv-01777-MWF-MAA Document 31 Filed 12/03/21 Page 2 of 3 Page ID #:260



1             Plaintiff Robert Vanderupwich (“Plaintiff”) and Defendants C. R. Bard, Inc. and Bard
2      Peripheral Vascular, Inc. (collectively, “Bard”) (Plaintiff and Bard are collectively referred
3      to as the “Parties”), respectfully submit this Joint Status Report Regarding Status of
4      Settlement and notify the Court of the following:
5             1.     Plaintiff’s counsel represents plaintiffs with cases in the In re: Bard IVC Filters
6      Products Liability Litigation, MDL 2641 (the “MDL”) as well as cases that have been
7      transferred or remanded from the MDL to courts across the country involving claims against
8      Bard for injuries allegedly arising out of plaintiffs’ use of Bard’s inferior vena cava (“IVC”)
9      filters.
10            2.     This case was remanded from the MDL pursuant to the MDL Court’s February
11     11, 2021 Amended Suggestion of Remand and Transfer Order (Fifth) (“Fifth Remand
12     Order”).
13            3.     The Parties have previously requested a stay of proceedings in this case in
14     order to negotiate a settlement, most recently on September 7, 2021, and the Court granted
15     that stay on September 10, 2021. (ECF No. 29.)
16            4.     Although the Parties have worked diligently towards settlement of this matter,
17     they have been unable to reach a settlement and the case has not been dismissed.
18            WHEREFORE, the Parties respectfully request that a Scheduling Conference be set.
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20     DATED: December 3, 2021                  GREENBERG TRAURIG, LLP
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22                                          By: /s/ Daniell K. Newman
                                              Daniel K. Newman
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                                                Attorney for Defendants
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                   JOINT STATUS REPORT REGARDING STATUS OF SETTLEMENT
     Case 2:21-cv-01777-MWF-MAA Document 31 Filed 12/03/21 Page 3 of 3 Page ID #:261



1      DATED: December 3, 2021                BERTRAM & GRAF, LLC
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3                                          By: /s/ Benjamin A. Bertram
                                              Benjamin A. Bertram
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                                              SKIKOS CRAWFORD SKIKOS & JOSEPH LLP
6
7                                          By: /s/ Matthew J. Skikos
8                                             Matthew J. Skikos

9                                             Attorneys for Plaintiff
10                                            ROBERT VANDERUPWICH

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             Pursuant to Local Civil Rule 5-4.3.4(a)(2)(i), I hereby attest that Plaintiff’s counsel,
12
       on whose behalf this filing is jointly submitted, has concurred in this filing’s content and
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       has authorized me to file this document.
14
15                                            /s/ Daniell K. Newman
                                              Daniell K. Newman
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               JOINT STATUS REPORT REGARDING STATUS OF SETTLEMENT
